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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                                March 20, 2017
                                       


In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 20[th] day of March, 2017.

10-17-00016-CR	KELSEY JO LACKEY v. THE STATE OF TEXAS - ON APPEAL FROM THE 272[ND] DISTRICT COURT OF BRAZOS COUNTY - TRIAL COURT NO. 13-04695-CRF-272 - DISMISSED - Memorandum Opinion by Justice Scoggins:

"This cause came on to be heard on the transcript of the record of the court below, and the same being considered, because it is the opinion of this Court that the appeal should be dismissed, it is ordered, adjudged and decreed by the Court that the appeal be dismissed, and that the appellant pay all costs in this behalf expended and that this decision be certified below for observance."
